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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                     Plaintiff,                )
                                               )                8:14CR209
       vs.                                     )
                                               )
GREGORY NEGUS and                              )                  ORDER
JEFFREY NUGUS,                                 )
                                               )
                     Defendants.               )


       This matter is before the court on defendant Gregory Negus’ unopposed motion to
continue trial [38] as counsel needs additional time to explore plea negotiations. The
defendant has complied with NECrimR 12.1(a). For good cause shown,

       IT IS ORDERED that the motion to continue trial is granted, as follows:

       1. The jury trial, for both defendants, now set for September 15, 2015 is continued
       to November 9, 2015.

        2. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
justice will be served by granting this continuance and outweigh the interests of the public
and the defendant in a speedy trial. Any additional time arising as a result of the granting
of this motion, that is, the time between today’s date and November 9, 2015 shall be
deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act. Failure to grant a continuance would deny counsel for the defendant the
reasonable time necessary for effective preparation, taking into account the exercise of due
diligence. 18 U.S.C. § 3161(h)(7)(A) & (B)(iv).

       DATED September 3, 2015.

                                             BY THE COURT:

                                             s/ F.A. Gossett
                                             United States Magistrate Judge
